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                                                         U.S. Department of Justice
                                                         United States Attorney
                                                         Eastern District of Louisiana

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Supen,isor, Public Conuption Unit                       Ney, Orleans. Louisiana 701 30


                                                        April26,202l


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Honorable Jay C. Zainey
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United States District Judge
Eastem District of Louisiana
500 Poydras Street, Room C455                                                             FLED      APR           26       2021

New Orleans, Louisiana 70130

          Re:        United States v. Stephen Daniel Defiore
                     Criminal Doc      No.21-13 "A"

Dear Judge Zainey:


      In compliance with the holding of Brytan v. United States, 492 F.2d 775 (5th Cir. 1974),
and with Rule 11 of the Federal Rules of Criminal Procedure, the Government wishes to
acknowledge the following agreement between the Government and Stephen Daniel Defiore, the
defendant, in the above-captioned proceeding. Defendant's undersigned counsel, Jerrod
Thompson-Hicks, has reviewed the terms of this agreement and has been advised by the defendant
that the defendant fully understands the terms of this agreement.

       The Government has agreed that, should the Court accept the defendant's plea of guilty as
charged to the one-count Bill of Infonnation now pending against him, charging the defendant
with conspiracy to commit wire fraud, in violation of Title 18, United States Code, Sections 371
and 1343, the Government will not bring any other charges in the Eastern District of Louisiana
against the defendant arising from the conduct detailed in the Factual Basis, as long as the
defendant has truthfully informed federal agents of the full details of this crime. The defendant
understands that this agreement does not apply to any crimes of violence that the defendant rnay
have committed.

        The defendant further understands that the maximum penalty the defendant may receive
 should his plea of guilty is not more than five (5) years of imprisonment, and/or a fine of $250,000,


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or the greater of twice the gross gain to the defendant or twice the gross loss to any person under
Title 18, United States Code, Section 3571.

        It is also understood that the restitution provisions of Sections 3663 and 3663A of Title 18,
United States Code, will apply. The defendant agrees that any restitution irnposed will be non-
dischargeable in any bankruptcy proceeding and that defendant will not seek or cause to be sought
a discharge or a finding of dischargeability as to the restitution obligation. The defendant further
acknowledges and understands that, notwithstanding any payment schedule irnposed at sentencing
or during probation or supervised release. restitution is due and payable in full immediately upon
entry of the judgurent of conviction. The exact restitution figure will be determined and ordered
by the Court. The defendant, however, expressly acknowledges a loss to Victim A of not less than
the higher of the following values, as calculated in U.S. dollars: (l) the value of cryptocurrency
stolen from Victim A as calculated on the dates thefts occurred or (2) the value of cryptocurrency
stolen from Victim A as calculated on the date the Court accepts the defendant's guilty plea. The
defendant further expressly acknowledges a loss to Victim B of not less than the higher of the
following values, as calculated in U.S. dollars: (1) the value of cryptocurrency stolen frorn Victim
B as calculated on the dates thefts occurred or (2) the value of cryptocurrency stolen frorn Victim
B as calculated on the date the Court accepts the defendant's guilty plea. The defendant agrees
that not less than the sum of the amounts of loss to Victim A and Victim B, minus any amount
already repaid, or any greater amount as ordered by the Court, will be owed to Victirn A and Victin,
B upon sentencing.

        Fufther, the defendant understands that a mandatory special assessment fee of $ I 00.00 per
count shall be imposed under the provisions of Section 301 3 of Title I 8, United States Code. This
special assessment must be paid on the date of sentencing. Failure to pay this special assessment
may result in the plea agreement being void.

        The defendant further understands that the Court, in imposing a sentence of a term of
imprisonment, may include as part of the sentence a requirement that the defendant be placed on
a term of supervised release after imprisonment for a period of up to three (3) years, pursuant to
Title 18, United States Code, Section 3583. Supervised release is a period following release from
prison during which defendant's conduct will be monitored by the Court or the Court's designee.
Defendant fully understands that if defendant violates any of the conditions of supervised release
that the Court has imposed, defendant's supervised release may be revoked and defendant may be
ordered by the Court to serve in prison all or part of the term of supervised release.

        Defendant understands that Title 18, United States Code, Section 3742 and Title 28, United
States Co{e,   Section 1291, may give a crirninal defendant the right to appeal his conviction,
sentence, restitution, fine, and judgment imposed by the Court. Defendant also understands that
he may have the right to file collateral challenges to his conviction and sentence, and judgment,
including but not limited to rights provided by Title 28, United States Code, Sections 2255 and
224l,Ptule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, and writs of coram nobis and audita querela. Defendant further understands that Title
18, United States Code, Section 3582(c)(2), may allowthe Courtto grant a sentencing reduction

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to the defendant if the defendant has been sentenced to a term of imprisonment based upon           a
sentencing range that has been subsequently lowered by the United States Sentencing Commission
and determined to apply retroactively to defendants who already have been sentenced to a tenn of
imprisonment.

         Acknowledging these rights, subject only to the exceptions indicated in subsection (d)
below, the defendant, in exchange for the promise(s) and agreement(s) made by the United States
in this plea agreement, knowingly and voluntarily:

       a.       Waives and gives up any right to appeal or contest his guilty plea, conviction,
sentence, fine, supervised release, and any restitution imposed by any judge under any applicable
restitution statute, including but not limited to any right to appeal any rulings on pretrial motions
of any kind whatsoever, as well as any aspect of his sentence, including but not limited to any and
all rights which arise under Title 18, United States Code, Section 3742 and Title 28, United States
Code, Section l29l ;

       b.       Waives and gives up any right to appeal any order, decision, or judgment arising
out of or related to Title 18, United States Code, Section 3582(c)(2) imposed by any judge and
further waives and gives up any right to challenge the manner in which his sentence was
determined and to challenge any United States Sentencing Guidelines determinations and their
application by any judge to the defendant's sentence and judgment;

       c.        Waives and gives up any right to challenge his sentence collaterally, including but
not linrited to any and all rights which arise under Title 28, United States Code, Sections 2255 and
224l,Rule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, writs of coram nobis and audita querela, and any other collateral challenges to his
sentence   ofany kind;   and

        d.       The defendant specifically does not waive, and retains the right to bring a direct
appeal of any sentence imposed in excess of the statutory maximum. The defendant also retains
the right to raise a claim of ineffective assistance of counsel in an appropriate proceeding.

        The defendant further waives any right to seek attorney's fees and/or other litigation
expenses under the "Hyde Amendment,"        Title I8, United States Code, Section 3006A and the
defendant  acknowledges     that the  Government's   position in the instant prosecution was not
vexatious, frivolous or in bad faith.

        The defendant understands that any discussions with defendant's attomey or anyone else
regarding sentencing guidelines are merely rough estimates and the Court is not bound by those
discussions. The defendant understands that the sentencing guidelines are advisory and are not
mandatory for sentencing purposes. The defendant understands the Court could impose the
maximum tenn of imprisonment and fine allowed by law, including the imposition of supervised
release. The defendant is also aware that in determining a fair and just sentence, the Court has the
authority and discretion, pursuant to Title 18, United States Code, Sections 3553 and 3661 and the

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United States Sentencing Guidelines, to consider any and all "relevant conduct" that the defendant
was involved in, the nature and circumstances of the offenses, and the history and characteristics
ofthe defendant.

        In an effort to resolve this matter in a tirnely fashion and show good faith, the defendant
agrees to knowingly, voluntarily, and expressly waive his rights pursuant to Rule 410(a) of the
Federal Rules of Evidence upon signing this plea agreement and the factualbasis. The defendant
understands and agrees that in the event the defendant violates the plea agreement, withdraws his
decision to plead guilty, his guilty plea is later withdrawn or otherwise set aside, any statements
made by the defendant to law enforcement agents or an attomey for the prosecuting authority
during plea discussions, any statements made by the defendant during any court proceeding
involving the defendant's plea of guilty, including any factual bases or summaries signed by the
defendant, and any leads from such statements, factual bases or summaries, shall be adrnissible for
all purposes against the defendant in any and all criminal proceedings.

        The defendant agrees to forfeit to the United States any right, title, and interest in all assets
subject to forfeiture under the notice(s) of forfeiture contained in the charging document, including
property specified in any bill of particulars and property previously seized by the government for
adrninistrative, civil, or crirninal forfeiture. The defendant further consents to the filing of a motion
for a preliminary order forfeiting such property and any dollar amount specified in the notice(s) of
forfeiture or bill of particulars, and the defendant confesses the requisite nexus between the
property and the charge(s) of conviction. The defendant hereby withdraws any petition for
remission or claim for such property and further waives any right to contest or appeal the
government's forfeiture proceedings for any reason, including on grounds that the forfeiture
constitutes an unconstitutionally excessive fine or punishment, and in any manner, including by
claim, petition, appeal, or collateral attack.

        The defendant further agrees to submit to interviews whenever and wherever requested by
law enforcement authorities regarding all assets currently or previously within defendant's
possession. It is also understood that defendant will provide any and all financial infonnation and
documentation requested by the government, agrees to voluntarily execute a complete and
thorough Financial Statement of Debtor, and furlher agrees to provide the requested List of Items
that is attached to the Financial Statement. The defendarrt understands this infonnation may be
provided to a representative of any victim of this offense.

        The defendant recognizes that any criminalmonetary penalty, whether special assessment,
criminal fine, or restitution, that is owed as a result of his/her conviction will be immediately
subrritted to the Treasury Offset Program. The defendant waives any objection to his/her inclusion
in the Treasury Offset Program.




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        The defendant understands that the statements set forth above and in the attached SEALED
document (Attachment "A'") represents defendant's entire agreement with the Government; there
are not any other agreements, letters, or notations that will affect this agreernent.



                                                Very truly yours,

                                                DUANE A. EVANS
                                                LTNITED STATES A               Y


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                                                                                       Date
                                                Assistant United States Attorrrey




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            for Stephen Daniel Defiore


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Defendant




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